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               EXHIBIT A
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                          THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                                Plaintiffs,          Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                                Defendant.




 State of Colorado, et al.,

                                Plaintiffs,          Case No. 1:20-cv-03715-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                                Defendant.


                  NONPARTY MICROSOFT CORPORATION’S
          RESPONSES AND OBJECTIONS TO DEFENDANT GOOGLE, LLC’S
           SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

        Pursuant to Federal Rules of Civil Procedure 26, 30, and 45, nonparty Microsoft

Corporation (“Microsoft”), by and through its undersigned counsel of record, submits the

following responses and objections to Defendant Google LLC’s (“Google”) 30(b)(6) Deposition

Notice to Microsoft dated January 24, 2025 (the “Notice”).

        Microsoft submits these objections in good faith after a preliminary inquiry in response to

the Notice. Without undertaking any obligation to do so, Microsoft reserves the right to assert

additional objections and limitations concerning the Notice any time Microsoft deems necessary.



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By asserting these objections, Microsoft does not waive its right to seek relief from the appropriate

forum, including motions to quash or modify the Notice, motions for fees or costs, and motions

for the entry of a protective order. Microsoft further submits that it will meet and confer in good

faith with Google regarding the Notice.

                                   GENERAL OBJECTIONS

       1.      Microsoft incorporates all Continuing Objections in Nonparty Microsoft’s

Responses and Objections to Google, LLC’s October 22, 2024 Subpoena to Produce Documents,

Information, or Objects to Permit Inspection of Premises in a Civil Action that were served upon

Google on November 5, 2024.

       2.      Microsoft incorporates all Continuing Objections in Nonparty Microsoft’s

Responses and Objections to Google, LLC’s December 20, 2024 Subpoena to Produce Documents,

Information, or Objects to Permit Inspection of Premises in a Civil Action that were served upon

Google on January 8, 2025.

       3.      Microsoft incorporates all Objections to Definitions in Nonparty Microsoft’s

Objections and Responses to Google, LLC’s October 22, 2024 Subpoena to Produce Documents,

Information, or Objects to Permit Inspection of Premises in a Civil Action that were served upon

Google on November 5, 2024.

       4.      Microsoft objects to each deposition Topic to the extent that it seeks to impose

burdens and obligations beyond those set forth by the Federal Rules of Civil Procedure, local court

rules, and/or any orders of the Court.

       5.      Microsoft objects to each deposition Topic to the extent it calls for the disclosure

of confidential communications or information, or the identification or description of documents,

protected by the attorney-client privilege, work product doctrine, or any other applicable privilege




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or protection afforded by the law. Any agreement by Microsoft to make a witness available to

testify in regard to a deposition Topic in no way constitutes a waiver of any such privilege

concerning that or any other Topic.

        6.      Microsoft objects to each deposition Topic to the extent it is cumulative or

duplicative of information already obtained or obtainable in discovery in this case, and to the extent

the information is available through less burdensome means.

        7.      Microsoft objects to each deposition Topic to the extent it seeks information that is

properly sought from other means of discovery including from a party in this litigation.

        8.      Microsoft objects to each deposition Topic to the extent it calls for information

pertaining to issues that are not relevant to the subject matter of this litigation.

        9.      Microsoft objects to each deposition Topic to the extent it calls for information not

known or reasonably available to Microsoft.

        10.     Microsoft objects to each deposition Topic to the extent it seeks information that is

properly the subject of expert testimony.

        11.     Microsoft objects to each deposition Topic to the extent it seeks testimony calling

for legal analyses or conclusions. Microsoft will not designate any witness to provide legal

analyses or conclusions.

                                               TOPICS

TOPIC NO. 1:

        Artificial intelligence models that Microsoft has developed, trained, licensed or refined for

use in connection with any potential or actual Generative AI Tool or AI Search Tool, and, with

respect to each,

    a. The types and quantity of data used to train the model;




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   b. The extent to which search engine click-and-query data is or could be used to train it,

       including relative to other inputs; and

   c. How, if at all, the model is integrated into Bing search

RESPONSE TO TOPIC NO. 1

       Microsoft objects to this Topic as overbroad, disproportionate to the needs of the case, and

unduly burdensome in that it results in needless additional burden and expense for Microsoft in

preparing corporate designees concerning this Topic. Microsoft further objects to this Topic as

overbroad, vague, ambiguous, and unduly burdensome due to the use of, inter alia, the phrases

“any other model” and “any potential or actual Generative AI Tool or AI Search Tool” which are

issues being litigated in the Remedies Phase of this Action. Microsoft objects to the terms

“Generative AI Tool” and “AI Search Tool” as vague, ambiguous, overbroad, and unduly

burdensome. As used in this Topic, Microsoft will interpret “Generative AI Tool” and “AI Search

Tool” to refer to products, services, features, or functionalities that take or receive a natural

language input, query, or prompt (regardless of input method) and have the ability to provide or

retrieve information from the web when providing a response to a user’s query, regardless of input

(e.g., text, voice) or output modality (text, images, videos). Microsoft also objects to the term

“artificial intelligence” as undefined, vague, ambiguous, overbroad, and unduly burdensome.

Microsoft further objects to this Topic because the information sought by this Topic via testimony

is duplicative and cumulative of Google’s October 22, 2024 Subpoena Request No. 14 and

Google’s December 20, 2024 Request Nos. 2 and 5, to which Microsoft has agreed to produce

responsive information.

       Subject to and without waiving the foregoing objections, Microsoft responds as follows:

Microsoft agrees to provide testimony at a general level regarding (1) the type and quantity of data

used to train any large language model that is both owned by Microsoft and actively used in


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connection with any actual Generative AI Tool or AI Search Tool and (2) Microsoft’s announced

product development efforts related to the integration of generative AI products and features into

Bing.

TOPIC NO. 2:

        Microsoft’s current investments in any company that develops an artificial intelligence

model or AI Product.

RESPONSE TO TOPIC NO. 2:

        Microsoft objects to this Topic as overbroad, disproportionate to the needs of the case, and

unduly burdensome in that it results in needless additional burden and expense for Microsoft in

preparing corporate designees concerning this Topic. Microsoft further objects to this Topic as

overbroad and unduly burdensome because it seeks information that is irrelevant to the issues

being litigated during the Remedies Phase of this Action. Microsoft objects to the terms “artificial

intelligence model” and “AI Product” as vague, ambiguous, overbroad, and unduly burdensome.

Microsoft also objects to this Topic because the information sought by this Topic via testimony is

duplicative and cumulative of Google’s December 20, 2024 Request No. 9, to which Microsoft

has agreed to produce responsive information. Microsoft further objects to this Topic to the extent

that it seeks information protected by the attorney-client privilege or work product doctrine.

        Subject to and without waiving the foregoing objections, Microsoft responds as follows:

Microsoft will not provide testimony on this Topic.

TOPIC NO. 3:

        Microsoft’s negotiations or agreements, since May 2022, with browser companies, carriers,

OEMs, and other distributors for placement of Bing, any Generative AI Tool, or any AI Search

Tool.




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RESPONSE TO TOPIC NO. 3:

       Microsoft objects to this Topic as overbroad, disproportionate to the needs of the case, and

unduly burdensome in that it results in needless additional burden and expense for Microsoft in

preparing corporate designees concerning this Topic. Microsoft further objects to the terms

“placement” and “carriers” as undefined, vague, ambiguous, overbroad, and unduly burdensome.

Microsoft also objects to the terms “Generative AI Tool” and “AI Search Tool” as vague,

ambiguous, overbroad, and unduly burdensome. As used in this Topic, Microsoft will interpret

“Generative AI Tool” and “AI Search Tool” to refer to products, services, features, or

functionalities that take or receive a natural language input, query, or prompt (regardless of input

method) and have the ability to provide or retrieve information from the web when providing a

response to a user’s query, regardless of input (e.g., text, voice) or output modality (text, images,

videos). Microsoft also objects to this Topic because the information sought by this Topic via

testimony is duplicative and cumulative of Google’s October 22, 2024 Subpoena Requests No. 1

and 2 and Google’s December 20, 2024 Request No. 2, to which Microsoft has agreed to produce

responsive information.    Microsoft further objects to this Topic to the extent that it seeks

information protected by the attorney-client privilege or work product doctrine.

       Subject to and without waiving the foregoing objections, Microsoft responds as follows:

Microsoft agrees to provide testimony at a general level regarding Microsoft’s negotiations or

agreements, since May 2022, with browser companies, carriers, OEMs, and other distributors for

placement of Microsoft Bing Search, the Microsoft Edge browser, the Microsoft Bing Search app,

and Microsoft Copilot.

TOPIC NO. 4:

       Microsoft’s agreements with Publishers to license data, including the agreements’ terms

and whether the agreements provide Microsoft content exclusivity or include a “most favored


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nation” or similar provision as referenced in Section IV.C of Plaintiffs’ Proposed Final Judgment

(ECF No. 1062-1).

RESPONSE TO TOPIC NO. 4:

       Microsoft objects to this Topic as overbroad, disproportionate to the needs of the case, and

unduly burdensome in that it results in needless additional burden and expense for Microsoft in

preparing corporate designees concerning this Topic. Microsoft further objects to this Topic as

overbroad and unduly burdensome to the extent it requests testimony on any agreement “to license

data” regardless of whether such agreements are relevant to the issues being litigated in the

Remedies Phase of this Action. Microsoft objects to the terms “content exclusivity” as vague,

ambiguous, overbroad, and unduly burdensome. Microsoft also objects to this Topic because the

information sought by this Topic via testimony is duplicative and cumulative of Google’s October

22, 2024 Subpoena Requests Nos. 16 and 17, to which Microsoft has agreed to produce responsive

information. Microsoft further objects to testifying about produced agreements, which are in

writing and speak for themselves. Microsoft further objects to this Topic to the extent that it seeks

information protected by the attorney-client privilege or work product doctrine.

       Subject to and without waiving the foregoing objections, Microsoft responds as follows:

Microsoft agrees to provide testimony at a general level regarding Microsoft’s content licensing

agreements related to Generative AI Tools or AI Search Tools.

TOPIC NO. 5:

       Microsoft’s consideration of and decision whether to provide Publishers, websites, and

content creators the ability to selectively opt-out of having the content of their web pages or

domains (a) used in search indexing, (b) used to train or fine-tune artificial intelligence models or

AI Products, (c) used in retrieval-augmented generation-based tools, or (d) displayed as AI-

generated content on Bing’s SERP.


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RESPONSE TO TOPIC NO. 5:

       Microsoft objects to this Topic as overbroad, disproportionate to the needs of the case, and

unduly burdensome in that it results in needless additional burden and expense for Microsoft in

preparing corporate designees concerning this Topic. Microsoft further objects to this Topic as

seeking testimony that is irrelevant to the issues being litigated in the Remedies Phase of this

Action. Microsoft also objects to this Topic because the information sought by this Topic via

testimony is duplicative and cumulative of Google’s December 20, 2024 Subpoena Request No.

8, to which Microsoft has agreed to produce responsive information. Microsoft also objects to this

Topic to the extent it seeks information via testimony that is publicly available or otherwise readily

accessible to Google. Microsoft further objects to this Topic to the extent that it seeks information

protected by the attorney-client privilege or work product doctrine.

       Subject to and without waiving the foregoing objections, Microsoft responds as follows:

Microsoft agrees to provide testimony at a general level regarding the ability of Publishers,

websites, and content creators to opt-out of having the content of their web pages or domains (a)

used in search indexing, (b) used to train or fine-tune artificial intelligence models or AI Products,

(c) used in retrieval-augmented generation-based tools, or (d) displayed as AI-generated content

on Bing’s SERP.

TOPIC NO. 6:

       The terms on which Microsoft syndicates its search and search advertisement results for its

syndication partners, including:

   a. Any procedures and policies Microsoft follows to anonymize user data or otherwise protect

       its users’ privacy; and

   b. Any steps Microsoft takes to preserve the proprietary character of Bing’s and/or Microsoft

       Advertising’s algorithms.


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RESPONSE TO TOPIC NO. 6:

        Microsoft objects to this Topic as overbroad, disproportionate to the needs of the case, and

unduly burdensome in that it results in needless additional burden and expense for Microsoft in

preparing corporate designees concerning this Topic. Microsoft further objects to this Topic to the

extent it seeks information via testimony on “any procedures and policies” and “any steps

Microsoft takes.” Microsoft objects to the phrase “steps Microsoft takes to preserve the proprietary

character of Bing’s and/or Microsoft Advertising’s algorithms” as vague, ambiguous, overbroad,

and unduly burdensome. Microsoft also objects to this Topic because the information sought by

this Topic via testimony is duplicative and cumulative of Google’s October 22, 2024 Subpoena

Requests No. 35, 36, and 37, to which Microsoft has agreed to produce responsive information.

Microsoft further objects to testifying about produced agreements, which are in writing and speak

for themselves. Microsoft further objects to this Topic to the extent that it seeks information

protected by the attorney-client privilege or work product doctrine. Microsoft also objects to this

Topic to the extent it calls for information pertaining to issues that are not relevant to the subject

matter of this litigation.

        Subject to and without waiving the foregoing objections, Microsoft responds as follows:

Microsoft will not provide testimony in response to this Topic.

TOPIC NO. 7:

        Microsoft’s analysis of the relative competitive position(s) of ChatGPT, SearchGPT,

Gemini, Perplexity, Claude, Meta AI, and Copilot.

RESPONSE TO TOPIC NO. 7:

        Microsoft objects to this Topic as overbroad, disproportionate to the needs of the case, and

unduly burdensome in that it results in needless additional burden and expense for Microsoft in

preparing corporate designees concerning this Topic. Microsoft also objects to this Topic because


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the information sought by this Topic via testimony is duplicative and cumulative of Google’s

October 22, 2024 Subpoena Requests No. 18, to which Microsoft has agreed to produce responsive

information. Microsoft further objects to this Topic to the extent that it seeks information protected

by the attorney-client privilege or work product doctrine.

        Subject to and without waiving the foregoing objections, Microsoft responds as follows:

Microsoft agrees to provide testimony at a general level regarding the relative competitive position

of Microsoft Copilot as compared to other Generative AI and AI Search Tools.

TOPIC NO. 8:

        Microsoft’s analysis of its competitive positions relative to Google and any other third party

regarding cloud computing, chips, and data servers used as inputs for AI.

RESPONSE TO TOPIC NO. 8:

        Microsoft objects to this Topic as overbroad, disproportionate to the needs of the case, and

unduly burdensome in that it results in needless additional burden and expense for Microsoft in

preparing corporate designees concerning this Topic. Microsoft further objects to the phrase

“cloud computing, chips, and data servers used as inputs for AI” as vague, ambiguous, overbroad,

and unduly burdensome. Microsoft further objects to this Topic to the extent that it seeks

information protected by the attorney-client privilege or work product doctrine. Microsoft also

objects to this Topic to the extent it calls for information pertaining to issues that are not relevant

to the subject matter of this litigation.

        Subject to and without waiving the foregoing objections, Microsoft responds as follows:

Microsoft will not provide testimony in response to this Topic.

TOPIC NO. 9:

        Microsoft’s incorporation of (or plans to incorporate) artificial intelligence technology into

its products, software, or web properties, including internal strategy, project timelines, and


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investments into Microsoft’s AI projects (such as number of employees on the project, time spent

on the project, dollars spent on the project).

RESPONSE TO TOPIC NO. 9:

       Microsoft objects to this Topic as overbroad, disproportionate to the needs of the case, and

unduly burdensome in that it results in needless additional burden and expense for Microsoft in

preparing designees concerning this Topic. Microsoft objects to this Topic to the extent it seeks

information via testimony on “artificial intelligence technology,” “products,” “software,” and

“web properties” that are not relevant or connected to the markets at issue in this Action (i.e., the

general search services and general search text advertising markets). Microsoft also objects to the

terms “artificial intelligence technology” and “Microsoft’s AI projects” as undefined, vague,

ambiguous, overly broad, and unduly burdensome. As used in this Topic, Microsoft will interpret

“artificial intelligence technology” and “AI” to refer to products, services, features, or

functionalities that take or receive a natural language input, query, or prompt (regardless of input

method) and have the ability to provide or retrieve information from the web when providing a

response to a user’s query, regardless of input (e.g., text, voice) or output modality (text, images,

videos). Microsoft also objects to this Topic because the information sought by this Topic via

testimony is duplicative and cumulative of Google’s October 22, 2024 Subpoena Request Nos. 20

and 21 and Google’s December 20, 2024 Request Nos. 2, 5, and 11, to which Microsoft has agreed

to produce responsive information. Microsoft further objects to this Topic to the extent that it

seeks information protected by the attorney-client privilege or work product doctrine.

       Subject to and without waiving the above-referenced Continuing and Specific Objections,

Microsoft agrees to provide testimony at a general level regarding (1) Microsoft’s incorporation

of generative AI products and features into Bing and (2) Microsoft’s announced product

development efforts related to Microsoft generative AI products that have some connection to


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search, search features, or search access points, including plans related to the introduction,

creation, distribution, monetization, and relates of generative AI agents.

TOPIC NO. 10:

        The impact of any AI model on Bing’s search quality or Microsoft’s measure of Bing’s

search quality.

RESPONSE TO TOPIC NO. 10:

        Microsoft objects to this Topic as overbroad, disproportionate to the needs of the case, and

unduly burdensome in that it results in needless additional burden and expense for Microsoft in

preparing corporate designees concerning this Topic. Microsoft further objects to this Topic as

overly broad and unduly burdensome to the extent it seeks information via testimony on “any AI

model.” Microsoft also objects to this Topic because the information sought by this Topic via

testimony is duplicative and cumulative of Google’s October 22, 2024 Subpoena Requests Nos. 8

and 38, to which Microsoft has agreed to produce responsive information. Microsoft further

objects to this Topic to the extent that it seeks information protected by the attorney-client privilege

or work product doctrine.

        Subject to and without waiving the above-referenced Continuing and Specific Objections,

Microsoft agrees to provide testimony at a general level regarding its understanding as to the

impact incorporating AI models has had on Bing quality.

TOPIC NO. 11:

        Any improvements or refinements made by Microsoft to ChatGPT or SearchGPT

technologies or the models underlying them.

RESPONSE TO TOPIC NO. 11:

        Microsoft objects to this Topic as overbroad, disproportionate to the needs of the case, and

unduly burdensome in that it results in needless additional burden and expense for Microsoft in


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preparing corporate designees concerning this Topic. Microsoft further objects to this Topic to the

extent it seeks information via testimony regarding topics that are irrelevant to the issues being

litigated in the Remedies Phase of this Action. Microsoft objects to the terms “improvements” and

“refinements” as undefined, vague, ambiguous, overly broad, and unduly burdensome. Microsoft

also objects to this Topic because the information sought by this Topic via testimony is duplicative

and cumulative of Google’s October 22, 2024 Subpoena Requests No. 14, to which Microsoft has

agreed to produce responsive information. Microsoft also objects to the Topic on the grounds that

the testimony is more readily, efficiently, and appropriately obtained from OpenAI. Microsoft

further objects to this Topic to the extent that it seeks information protected by the attorney-client

privilege or work product doctrine.

       Subject to and without waiving the foregoing objections, Microsoft responds as follows:

Microsoft will not provide testimony in response to this Topic.

TOPIC NO. 12:

       Microsoft’s consideration or analyses of whether (and how) any of the remedies proposed

in Plaintiffs’ Proposed Final Judgment would impact its competitive position.

RESPONSE TO TOPIC NO. 12:

       Microsoft objects to this Topic as overbroad, disproportionate to the needs of the case, and

unduly burdensome in that it results in needless additional burden and expense for Microsoft in

preparing corporate designees concerning this Topic. Microsoft further objects to this topic to the

extent that it seeks information protected by the attorney-client privilege or work product doctrine.

       Subject to and without waiving the foregoing objections, Microsoft responds as follows:

Microsoft agrees to provide testimony at a general level regarding non-privileged consideration of

whether the Plaintiffs’ Proposed Final Judgment would impact Microsoft’s competitive position as




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it relates to Microsoft Bing Search, the Microsoft Edge browser, the Microsoft Bing Search app,

and Microsoft Copilot (formerly Bing Chat).

TOPIC NO. 13:

        Microsoft’s collection and use of data gathered through Edge for purposes of developing

or improving search engine result quality or AI product quality, including what data Microsoft

collects and how Microsoft uses that data. See, e.g., https://learn.microsoft.com/en-

us/legal/microsoft-edge/privacy (“Search results data for product improvement”).

RESPONSE TO TOPIC NO. 13:

        Microsoft objects to this Topic as overbroad, disproportionate to the needs of the case, and

unduly burdensome in that it results in needless additional burden and expense for Microsoft in

preparing corporate designees concerning this Topic. Microsoft further objects to the term “AI

product” as vague, overly broad, and unduly burdensome. As used in this Topic, Microsoft will

interpret “AI product” to refer to products, services, features, or functionalities that take or receive

a natural language input, query, or prompt (regardless of input method) and have the ability to

provide or retrieve information from the web when providing a response to a user’s query,

regardless of input (e.g., text, voice) or output modality (text, images, videos). Microsoft further

objects to this Topic to the extent that it seeks information protected by the attorney-client privilege

or work product doctrine.

        Subject to and without waiving the foregoing objections, Microsoft responds as follows:

Microsoft will provide testimony at a general level regarding Microsoft’s use of Edge data to

improve Microsoft’s search quality.




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TOPIC NO. 14:

       Microsoft’s efforts to create or improve personalized features or experiences in search,

including features or experiences that incorporate AI Products, and what data Microsoft uses to

build or improve such personalized features or experiences.

RESPONSE TO TOPIC NO. 14:

       Microsoft objects to this Topic as overbroad, disproportionate to the needs of the case, and

unduly burdensome in that it results in needless additional burden and expense for Microsoft in

preparing corporate designees concerning this Topic. Microsoft objects to the term “AI Products”

as vague, overly broad, and unduly burdensome. Microsoft also objects to this Topic to the extent

it calls for information pertaining to issues that are not relevant to the subject matter of this

litigation. Microsoft further objects to the terms “personalized features or experiences in search”

as undefined, vague, ambiguous, overbroad, and unduly burdensome. Microsoft also objects to

this Topic because the information sought by this Topic via testimony is duplicative and cumulative

of Google’s December 20, 2024 Request Nos. 14 and 15, to which Microsoft has agreed to produce

responsive information.    Microsoft further objects to this Topic to the extent that it seeks

information protected by the attorney-client privilege or work product doctrine.

       Subject to and without waiving the foregoing objections, Microsoft responds as follows:

Microsoft agrees to provide testimony at a general level regarding Microsoft’s announced product

development efforts related to the integration of generative AI products and features into Bing.

TOPIC NO. 15:

       The information relating to the user query, keyword, match type (including exact match

close variants), cost, position, ranking, and performance that Microsoft makes available to

advertisers who purchase Bing search text ads, the manner in which that information is made




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available to advertisers, and any information that Microsoft withholds on the basis of privacy

considerations.

RESPONSE TO TOPIC NO. 15:

        Microsoft objects to this Topic as overbroad, disproportionate to the needs of the case, and

unduly burdensome in that it results in needless additional burden and expense for Microsoft in

preparing corporate designees concerning this Topic. Microsoft also objects to this Topic because

the information sought by this Topic via testimony is duplicative and cumulative of Google’s

October 22, 2024 Subpoena Requests Nos. 28, 29, and 30, to which Microsoft has agreed to

produce responsive information.         Microsoft further objects to testifying about produced

documents, which provide detailed information related to this Topic and are in writing and speak

for themselves. Microsoft further objects to this Topic to the extent that it seeks information

protected by the attorney-client privilege or work product doctrine. Microsoft also objects to this

Topic to the extent it calls for information pertaining to issues that are not relevant to the subject

matter of this litigation.

        Subject to and without waiving the foregoing objections, Microsoft responds as follows:

Microsoft will not provide testimony in response to this Topic.

TOPIC NO. 16:

        Microsoft’s policies or practices with respect to disclosing updates to Microsoft’s general

search text ads auction model(s) and algorithm(s).

RESPONSE TO TOPIC NO. 16:

        Microsoft objects to this Topic as overbroad, disproportionate to the needs of the case, and

unduly burdensome in that it results in needless additional burden and expense for Microsoft in

preparing corporate designees concerning this Topic. Microsoft further objects to this Topic to the

extent it calls for information pertaining to issues that are not relevant to the subject matter of this


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litigation. Microsoft also objects to this Topic because the information sought by this Topic via

testimony is duplicative and cumulative of Google’s October 22, 2024 Subpoena Requests No. 26,

to which Microsoft has agreed to produce responsive information. Microsoft further objects to

testifying about produced policy statements, which are in writing and speak for themselves.

Microsoft further objects to this topic to the extent that it seeks information protected by the

attorney-client privilege or work product doctrine.

       Subject to and without waiving the foregoing objections, Microsoft responds as follows:

Microsoft will not provide testimony in response to this Topic.

TOPIC NO. 17:

       The effects that incorporating AI into Bing has had or is expected to have on Microsoft’s

ad business, including any change in Microsoft’s strategies to monetize search.

RESPONSE TO TOPIC NO. 17:

       Microsoft objects to this Topic as overbroad, disproportionate to the needs of the case, and

unduly burdensome in that it results in needless additional burden and expense for Microsoft in

preparing corporate designees concerning this Topic. Microsoft objects to the term “AI” as

undefined, vague, ambiguous, overly broad, and unduly burdensome. Microsoft further objects to

this Topic to the extent that it seeks information protected by the attorney-client privilege or work

product doctrine.

       Subject to and without waiving the foregoing objections, Microsoft responds as follows:

Microsoft agrees to provide testimony at a general level regarding the extent to which

incorporating AI into Bing has impacted Microsoft’s strategies to monetize search.

TOPIC NO. 18:

       Microsoft’s communications with Plaintiffs in this litigation discussing or relating to

potential or proposed remedies in this litigation.


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RESPONSE TO TOPIC NO. 18:

        Microsoft objects to this Topic as overbroad, disproportionate to the needs of the case, and

unduly burdensome in that it results in needless additional burden and expense for Microsoft in

preparing corporate designees concerning this Topic. Microsoft also objects to this Topic because

the information sought by this Topic via testimony is duplicative and cumulative of Google’s

October 22, 2024 Subpoena Requests Nos. 3 and 6, to which Microsoft has agreed to produce

responsive information.      Microsoft further objects to this Topic to the extent that it seeks

information protected by the attorney-client privilege or work product doctrine, and to the extent

these issues would overwhelm any testimony on this Topic. Microsoft also objects to this Topic

on the grounds that the testimony is more readily, efficiently, and appropriately obtained from

Plaintiffs, which are direct parties in this litigation. Rule 45 directs that discovery should not be

sought from a non-party where it is specifically available from a party to the action. Microsoft

further objects to this Topic to the extent it calls for information pertaining to issues that are not

relevant to the subject matter of this litigation.

        Subject to and without waiving the foregoing objections, Microsoft responds as follows:

Microsoft will not provide testimony in response to this Topic.




Dated: February 3, 2025                         Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 3, 2025, I caused to be served a copy of the foregoing

Microsoft Corporation’s Responses and Objections to Google’s January 24, 2025 Subpoena to

Testify at a Deposition in a Civil Action on all counsel of record via email.

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